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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    Case No: 1:20-cv-23287-DPG

  LUIS MANUEL RODRIGUEZ et al.

         Plaintiffs,
  v.

  IMPERIAL BRANDS PLC et al.
  CORPORACIÓN HABANOS, S.A.,
  WPP PLC, YOUNG & RUBICAM LLC,
  and BCW LLC, a/k/a BURSON COHN & WOLFE LLC,

         Defendants.

  ________________________________/

                   DECLARATION REGARDING SERVICE OF PROCESS

  STATE OF NEW YORK                     :
                                        : SS.
  COUNTY OF NEW YORK                    :

  James L. Berenthal, Esq. an attorney duly admitted to practice law before the courts for the United

  States District Court, Southern District of Florida, hereby declares the following under penalty of

  perjury:

  1.     I am one of the attorneys of record for the Plaintiffs in the above styled case. I am familiar

         with the proceedings in this case and I make this statement based on my personal

         knowledge of the facts set forth herein and my review of the documents attached as

         Exhibits “A,” “B,” and “C.”

  2.     One of the Defendants in this case is Corporación Habanos, S.A., which is an “agency or

         instrumentality of a foreign state,” specifically the Cuban government, as defined in 28

         U.S.C. § 1603(b). In accordance with 28 U.S.C. § 1608(b)(3)(B), service on Defendant

         Corporación Habanos, S.A. can be achieved by “delivery of a copy of the summons and
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        complaint, together with a translation of each into the official language of the foreign state

        . . . (B) by any form of mail requiring a signed receipt, to be addressed and dispatched by

        the clerk of the court to the agency or instrumentality to be served . . . .”

  3.    On January 26, 2021, in the manner described below, I caused to be served on Defendant

        Corporación Habanos, S.A. a copy of each of the following documents:

        a.      The Amended Summons;

        b.      The Complaint, with all accompanying exhibits;

        c.      A certified Spanish translation of the Amended Summons; and

        d.      A certified Spanish translation of the Complaint with all accompanying exhibits.

  4.    Copies of the above-listed documents (the “Service Documents”), are attached hereto as

        Exhibit “A.”

  5.    On January 8, 2021, at my direction, a DHL Express Worldwide waybill was created for

        the purpose of mailing the Service Documents to Defendant Corporación Habanos, S.A. at

        the following address (the “Service Address”):

                CORPORACIÓN HABANOS, S.A.

                Centro de Negocios Miramar
                Edificio Habana, 3ra Planta
                Avenida 3ra. entre 78 y 80, C.P.: 11300
                10400 HAVANA CITY
                Cuba

  6.    DHL assigned waybill number 1516900184 to this mailing and the mailing required a

        signed receipt upon delivery.

  7.    On January 11, 2021, my office transmitted the Service Documents to the Clerk of the

        United States District Court for the Southern District of Florida (the “Clerk”). The Clerk

        then mailed the Service Documents to Defendant Corporación Habanos, S.A. via DHL



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         waybill number 1516900184. See Clerk’s Notice of International Services (D.E. 63),

         attached hereto as Exhibit “B.”

  8.     I received notice on January 26, 2021 from DHL indicating that the Service Documents

         were served upon Defendant Corporación Habanos, S.A. at the Service Address and were

         signed for by Reinaldo Leyva. A copy of the tracking information and signed delivery

         receipt for waybill 1516900184 is attached as Exhibit “C.”

  9.     I declare under penalty of perjury that the foregoing is true and correct.

  Executed on February 10, 2021.

                                                       ___________________________________
                                                       James L. Berenthal, Esq.




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